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WATCHDOG REPORTS | A JOURNAL SENTINEL WATCHDOG UPDATE

Flawed Milwaukee crime numbers
festered for years

Police department insiders tell of failure to act, pressure to underreport
findings
By Ben Poston and John Diedrich of the Journal Sentinel

Nov. 24, 2012

Police Chief Edward Flynn swept into Milwaukee almost five years
ago, promising to modernize the department with a data-driven
approach, using timely information to analyze crime trends and deploy

officers to hot spots.

"If we can't rely on the numbers, we've got some problems," he said on

the day he was sworn in.

Since then, Flynn has publicly touted the city's falling crime numbers
more than a dozen times, a downward trend that helped him become

the first chief appointed to a second term in nearly three decades.

Those numbers were deeply flawed and the department knew it. But it
didn't bother to tell the public.

And it failed to correct the problems - including violent assaults, rapes,
robberies and burglaries that were misclassified as less serious offenses

- until they were exposed this year by the Journal Sentinel.

A review of more than 1,000 pages of internal emails from top
EXHIBIT

command staff shows there were concerns for years about a failure to 3
train people on crime reporting at all levels of the department and abou 3 4 ub
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a computer system so riddled with problems its results could not be

trusted.

"We just can't be sure that anything is accurate because training was
terrible for officers and for records management and we have no quality
control," Capt. Terrence Gordon, then head of the crime statistics,

wrote in a July 2011 email to Flynn's chief of staff.

Gordon also wrote that the entire system, from beat officers filing

reports to crime data sent to the state, should be audited.

A month later, Flynn publicized a double-digit crime drop in the first
six months of 2011 compared with the previous year, with no mention

of the concerns about the accuracy of the numbers.

In another email, the department's top systems analyst sought
assurances from Flynn's chief of staff that he wouldn't be fired if the
problems were discovered in an FBI audit. The analyst had repeatedly

warned supervisors of concerns about the numbers in earlier emails.

Interviews with more than a dozen department members, from beat
cops to their supervisors, describe a culture throughout the department
that pressures staff to keep crime numbers low, leading to downgraded

incidents.

"In so many cases, supervisors didn't like the facts they heard," said one
current north side officer, who did not want to have his name used for
fear of retaliation. "They would say, 'The captain ain't gonna be happy
if that's the way it's filed.’ "

In an interview, Flynn said he has seen no pattern of misconduct among
the allegations of altering crime numbers that have been referred to

him. Despite the data issues, he said he still believes crime has fallen
significantly. When pressed, he turned to anecdotal evidence, such as

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conversations with residents at block watch meetings.

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"T still stand by that fact that reporting the numbers was reporting
measurable progress," Flynn said. "And even if the numbers were

imperfect, it was still measurable progress."

An internal police audit, prompted by the Journal Sentinel's
investigation, found more than 5,300 violent assaults were
underreported in the past six years. With those corrections factored in,
the tally of violent crime was 10% higher overall in the four years since
Flynn took over the department compared with the data previously

reported for those years.

The department is also conducting a more comprehensive audit that

will look at other crimes but hasn't released any details on it yet.

Over time, the department says crime is still down more than 20%
when last year's numbers are compared with 2007's, the benchmark

against which Flynn has measured his tenure.

But Flynn told the Journal Sentinel this month that he never had

confidence in the 2007 numbers from the beginning.

"Nobody really knows how much crime we had back then," Flynn said.
"That's what they reported. I take it on face value. I have no idea if

those numbers were accurate. We worked with what we had."

A Rocky Start

When Flynn arrived in Milwaukee in January 2008, the department's

computer problems were no secret.

The city had recently spent $7.3 million on a new system from
California-based Tiburon Inc. to collect and track crime data. But it
didn't work when it was turned on in early 2005, forcing commanders

to use paper maps with pushpins for a month.

The department later missed an FBI crime reporting deadline. And
then-Chief Nannette Hegerty ordered $1 million withheld from Tiburon

and considered suing the company to get the system fixed.
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Flynn had promoted data-driven policing while heading departments in
Springfield, Mass., and Arlington, Va. Both cities reported big declines

in crime during his time there.

Flynn said one of his top priorities in Milwaukee would be to get
accurate, up-to-date information. Crime data would be the comerstone
of the new weekly CompStat meetings, where Flynn and his
commanders would dissect crime figures and question district captains

about what they were doing to address problems.

"It appears to me at first look that the technological challenges may be
as great as our criminal challenges," Flynn told reporters the day he
was sworn in. "We need to rely on the information we produce because
it's going to guide our deployments and it's going to help us measure

how we do it."

He enlisted help from the private sector, which quickly fixed some

long-standing software glitches.

But the fix applied to just one side of the coin, the numbers generated

for internal use in the daily updates.

When it came to information shared with the public, the system was

still providing bad data.

That information is crucial to residents monitoring crime in their
neighborhoods and to elected officials and policy-makers. The data is
sent to the state and the FBI, shaping the city's official crime rate. The
numbers serve as a crime-fighting report card for Flynn and Mayor
Tom Barrett, who both repeatedly cited the falling crime rate, proudly

announcing drops in every serious category, except burglaries.

Prosecution of cases is not affected by how they are classified for the
FBI, but flaws in those numbers can give residents an inaccurate

picture of safety in their neighborhoods. w-----]j 9 o 8

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"Obviously we want to have correct data," said Greg Baran, who uses
city-generated crime information to monitor activity in his east side
neighborhood. "You certainly want to make sure people are making
informed judgments on things, and it's difficult if crime is being over-

or underreported."

Flynn said he told the mayor in early 2008 that the Tiburon system was
flawed but that he had to try to make it work.

"I was not in a position to replace a system that was practically new
when I got here," he said. "This is Milwaukee all right, money doesn't
grow on trees. It's not enough to whine about a problem. You have got
to try to fix the problem first."

After years of stopgap measures, when fixing the computer system was
a low budget priority of the department, Flynn now says the system is
beyond repair and told aldermen in October that a new one is
"desperately needed." The department will have $850,000 next year to
start the process of replacing the system, which will take until 2014 at

the earliest.

A more reliable computer system would help restore public confidence,
criminologists said, and would allow Milwaukee police to be more

effective in identifying crime trends.

"That's what data-driven policing is all about,” said John Eterno,
director of the graduate criminal justice program at Molloy College in
Long Island, N.Y. "But if you have garbage in, garbage out, then you
haven't got anything at all."

Pressure To Diminish

The temptation of crime-fighting authorities to downgrade crimes is not
new, but it intensified after Flynn arrived, officers, supervisors and

clerks told the Journal Sentinel. eee e- =] 2 5 9

In interviews, they described problems from district supervisors

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A retired supervisor said he and others raised concerns about clerks
changing reports to lesser offenses during an in-service training in
2009. They were told by records division supervisors that the changes
were isolated incidents, not part of a concerted effort to downgrade

crimes.

No one interviewed said he or she received direct orders to downgrade
crime. Rather they described indirect pressure. For example,
supervisors at a district station often sought rationales to report a crime
as a lesser offense, such as lowering an aggravated assault to a simple

assault, in effect erasing it from the city's crime rate.

A pair of officers in a north side district said they faced pushback from
certain supervisors when filing burglary reports. If there was no forced
entry or the building was vacant, supervisors sometimes ordered

officers to file the report as a minor crime.

"Most cops are doing it right, but (supervisors) are always looking for

reasons to downgrade it to a misdemeanor," one of the officers said.

This allegation is echoed by incident reports found in a spot check by
the Journal Sentinel in which officers wrote they were told by
supervisors to put burglaries in the lesser "theft from building"
category. In all, more than 900 burglaries were misreported as thefts

since 2006, the Journal Sentinel found.

In one of the cases, an officer described the crime as "burglary
residential" in the incident report, but wrote in the narrative that he was

told by a supervisor to file it as a theft.

The president of the Milwaukee police officers' union thinks this shows
beat cops are frustrated and want reports to be filed accurately. But
department officials said it is common for officers to call supervisors

with questions and include their guidance in reports. m----=-71260

Officers and supervisors said pressure also comes during weekly crime

meetings, where the chief sometimes sharply questions district captains
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about rising crime numbers. Flynn said he never humiliates

commanders but he holds people accountable.

"TI want everyone to feel some level of pressure," he said. "Not pressure
to change a report - pressure to do something, pressure to be where the

problem is and take some action against it."

Flynn said he has reached out to the police officers and supervisors
unions in past years, asking their leaders to send him any complaints
they receive about pressure to downgrade crime. He said he received a
handful of complaints that he characterized as disagreements between

officers and supervisors.

"I am not saying that doesn't mean there can't be a problem," he said. "I
am not even saying there isn't a problem somewhere. All I am saying is
none of those mechanisms have brought to us a pattern or a trend that

indicates willfulness."

Mike Tobin, executive director of the Fire and Police Commission,
which hired Flynn, said he has received only one anonymous allegation
of deliberately downgrading crime. It was investigated by the

commission and could not be verified, he said.

Tobin said an outside audit now under way will attempt to determine

whether there was any intentional misreporting of crime.

The firm that was hired, Florida-based PRI Management Group, has
praised Flynn in Twitter and blog posts while criticizing the Journal

Sentinel's coverage this year.

A group of aldermen raised concerns about the firm's objectivity earlier
this year, but Tobin decided to hire the firm at a cost to taxpayers of

$25,000. The city comptroller has said it would cost more than
$100,000 to do a more thorough audit.

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Analyst Makes His Case j

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Earlier this year, police officials began bracing for the department's

first-ever FBI audit, which had been requested by Flynn.

What they apparently didn't know was that the FBI typically examines
a tiny number of cases - a sample criminologists say is far too small to
be meaningful. In Milwaukee, auditors would examine only 60 police

reports - less than the department records in an average six-hour period.

The Journal Sentinel review of aggravated assaults compared FBI
crime data with nearly 60,000 cases that were referred to prosecutors,

about 20% of those reported over a three-year period.

On May 7, the day before FBI auditors began their work, Erik
Rasmussen, senior systems analyst for the department, sent an email to
Joel Plant, Flynn's chief of staff, asking for confirmation his job was

safe if the FBI found serious problems with the crime numbers.

"T'm sending you an email explaining the concerns that I have
expressed to my superiors and to various command staff members and
requesting official written confirmation that MPD will hold me
blameless if MPD is found to have any problems with the (crime

reporting) processes," Rasmussen wrote.

The records provided to the Journal Sentinel under the state open

records law do not show any response to Rasmussen's email.

Asked about the email, Flynn said: "We always knew there were
concermms and they were concerns we were trying to handle at the
appropriate level. Erik wasn't always dialed in to what was going on,

but we certainly understood that he had concerns. We all did."

In early January, a lieutenant sent a memo to the captain of District 3

that showed just over 14% of 610 assault reports reviewed in that

district were misreported in 2011. The memo doesn't say if they were

under- or overreported. ere eee 1262

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In February, a sergeant sent an internal memo to Assistant Police Chief
John Hagen and other officials that detailed a wide range of problems
found in earlier reviews. Among them: "unfounded reports,
misclassified reports, inadequate clearances, outstanding follow-up

requests and missing data."

Less than a week earlier, Flynn had announced the fourth-straight year

of declining crime.

The same February memo says all records management staff should
attend regular FBI crime training and be assigned to specific crime
categories to develop expertise. In the first four-plus years of Flynn's

time here, only 18 people were sent to FBI crime training.

Flynn would eventually order more than three times that many to

training this summer.

A retired clerk said that was too little too late. Better training on FBI
crime standards would have prevented so many errors from happening,

the former clerk said.

"The thing was, the clerks were supposed to be the quality control,"
said the former clerk, who asked not to be identified because she feared
retaliation against colleagues still in the department. "How can the

clerks be quality control if they are not all trained properly?"

Additional emails show Rasmussen and other police officials sought
for years to fix a problem with capturing all the information recorded

on municipal citations, but couldn't get buy-in from superiors.

"What you are not seeing is disinterest in making improvements or
efforts to stymie improvements," Plant said. "What you are seeing are
solid, well-intended government employees identifying problems and
working on solutions to those problems."

More than a year earlier, Capt. Gordon voiced frustration about support

from top command staff, according to a 2011 email that addresses ~ ~ ~ ~~ ~ 126 3

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citation problems.

"Let's determine what brass to invite and get this done," he wrote. "The
(FBI audit) is a good hammer to get people moving. Too bad they don't

just want to fix things because they are broken though."

Flynn said he promoted Gordon and put him in charge of overseeing

crime Statistics.

"T think he is a smart guy," Flynn said. "That is what he thought. I don't

know what else to say."

Contacted recently, Gordon said he stands by everything he writes. He

declined further comment.
A Problem Exposed

On May 23, the day the first Journal Sentinel story was published,
identifying 500 cases of misclassified aggravated assaults and 800
more that followed the same pattern, Deputy Inspector Mary Hoerig

sent an email to Hagen and other top officials.
The subject line: "Requested Reporting Errors Talking Points."

"We have begun a review of assault reports that were filed the past
three years and while the majority of reports are correct, our audit team
has identified approximately 1,200 that require closer scrutiny," Hoerig

wrote to Flynn's chief of staff.

Just 90 minutes later, Flynn held a news conference where he criticized
the Journal Sentinel investigation as overblown and said it unfairly

implied the crime coding errors were intentional.

The numbers - which were later confirmed by the police internal audit -

should not have been surprising. w-=-=--- 726 4

Police were aware of inaccurate reporting of aggravated assaults and

began conducting quarterly audits of those crimes last year, according

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to a PowerPoint presentation from November 2011 obtained through an

open records request.

Even earlier, in 2009, the department identified a computer problem
that led to violent assaults being misclassified as "all other offenses,"

the most minor FBI crime category, according to an email.

There were more than 1,300 such cases, including more than 200
shootings, a Journal Sentinel review earlier this year found. Those
misclassified assaults - including more than 430 that occurred on
Flynn's watch - were not corrected in data sent to the state until this

summer.

Police officials interviewed this month said they didn't know why the

numbers were not corrected earlier.

In October, Flynn outlined his 2013 budget proposal for a Common

Council committee.

He also gave the committee an update on crime - the first of the 2012
numbers. The figures were the first to reflect corrections made by
police to thousands of misclassified violent assaults after the Journal

Sentinel investigation and the internal audit that followed.

Flynn reported that violent crime was 2.7% higher in the first eight
months of 2012 when compared with the same period last year, driven

by an 18% spike in aggravated assaults during that time.
It was the first such increase since he took control of the department.

There was no news conference this time.
Key Findings

e In May, a Journal Sentinel investigation found that more than 500 cases
of aggravated assault were misreported by Milwaukee police from

2009 to early 2012 as lesser crimes not counted in the city's violent — _— _ 126 5

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crime rate. An additional 800 followed the same pattern but could not
be confirmed with available records.

e In June, Milwaukee police acknowledged that record clerks routinely
changed FBI weapon codes in a way that allowed serious assaults to be
underreported as minor crimes.

e An internal audit, prompted by the Journal Sentinel investigation,
found that more than 5,300 aggravated assaults were misreported as
lesser offenses since 2006.

e A review of the department's audit database in August found it also
misclassified cases of robbery and rape.

e This month, the Journal Sentinel found that police misclassified more
than 900 burglaries as thefts since 2006. An analysis also found more
than 1,300 municipal theft cases that were not counted in the property

crime rate during the same time.

About Ben Poston

Ben Poston is the Journal Sentinel's investigative reporter focusing on database and
mapping analysis. He joined the newspaper in June 2007 and has written about
weaknesses in the region's tornado warning system, inspection delays for dangerous
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John Diedrich writes about crime, federal issues, ultimate fighting
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